                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

ELIZABETH BROWN,                              )
                                              )
       Plaintiff,                             )
                                              )       No. 7:10-cv-213
       vs.                                    )
                                              )
MIDLAND CREDIT MANAGEMENT                     )       JURY DEMAND ENDORSED HEREON
INC.,                                         )
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, ELIZABETH BROWN, by and through her attorney, M.

LYNETTE HARTSELL, and for her Complaint against the Defendant, MIDLAND CREDIT

MANAGEMENT, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.       This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts from

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.       Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




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                                            PARTIES

        3.      Plaintiff is an individual who was at all relevant times residing in Wilmington,

North Carolina.

        4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.      On information and belief, Defendant is a corporation of the State of Kansas,

which is licensed to do business in North Carolina and which has its principal place of business

in San Diego, California.

                                            COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.      During the calendar year of 2010, Defendant’s representatives and/or employees

began contacting Plaintiff by telephone in regard to a debt allegedly owed by an individual

named Elizabeth Brown.

        8.      Defendant’s employees did not verify that they had located the actual person who

owed the alleged debt and only verified that they were speaking with a person named “Elizabeth

Brown.”

        9.      Defendant’s employees and/or representatives stated to Plaintiff that the alleged

debt stemmed from a credit card associated with Wal-Mart.




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       10.      Plaintiff acknowledged that she owed a debt associated with Wal-Mart credit card

and thereafter made several payments to Defendant totaling at least two hundred seventy-five

Dollars ($275.00) towards the alleged debt.

       11.      On or about June 1, 2010, Plaintiff realized that she was making payments for two

different Wal-Mart credit cards, and that one of the credit cards belonged to a different person

also named Elizabeth Brown.

       12.      On or about June 2, 2010, Plaintiff contacted Defendant by telephone, notified

Defendant’s representatives and/or employees of the error and asked for the return of the

payments that had been erroneously made.

       13.      On or about June 3, 2010, Plaintiff mailed a letter to Defendant disputing that she

owed the alleged debt. Plaintiff also requested verification of the alleged debt, and again

requested the return of the payments that had been erroneously made.

       14.      To date, Defendant has refused to return the erroneously made payments.

       15.      In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.     Falsely representing the character, amount and/or legal status of the debt,

                       in violation of 15 U.S.C. § 1692e(2)(A);

                b.     Using a false, deceptive or misleading representation or means in

                       connection with the collection of the alleged debt or to obtain information

                       about Plaintiff, in violation of 15 U.S.C. § 1692e(10);

                c.     Using an unfair or unconscionable means to attempt to collect a debt, in

                       violation of 15 U.S.C. § 1692f; and




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                d.       By acting in an otherwise deceptive, unfair and unconscionable manner

                         and failing to comply with the FDCPA.

       16.      As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer loss of income, personal humiliation, embarrassment, mental anguish and

emotional distress.

       WHEREFORE, Plaintiff, ELIZABETH BROWN, respectfully prays for a judgment

against Defendant as follows:

                a.       Return of all sums paid to Defendant for the debt, which is not the

                         responsibility of Plaintiff;

                b.       Statutory damages of $1,000.00 for each violation of the FDCPA;

                c.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                         costs incurred by Plaintiff; and

                d.       Any other relief deemed appropriate by this Honorable Court.

                                               COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                     Engaged in the Collection of Debts from Consumers Statute)

       17.      Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       18.      In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways

                a.       Falsely representing the character, amount and/or legal status of the debt,

                         in violation of N.C. Gen. Stat. § 58-70-110(4); and




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                b.     By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with North Carolina law.

       19.      As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer loss of income, personal humiliation, embarrassment, mental anguish and

emotional distress.

       WHEREFORE, Plaintiff, ELIZABETH BROWN, respectfully prays for a judgment

against Defendant as follows:

                a.     Return of all sums paid to Defendant for the debt, which is not the

                       responsibility of Plaintiff;

                b.     Statutory damages of $4,000.00 for each violation of the North Carolina

                       Prohibited Practices by Collection Agencies Engaged in the Collection of

                       Debts from Consumers Statute;

                c.     All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

                d.     Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.




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                                Respectfully Submitted,

                                /s/ M. Lynette Hartsell
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